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                    EXHIBIT 4
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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, JOHN DOE, JANE DOE 1, JANE
   DOE 2, and JANE DOE 3,

                                 Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                               Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW                                  JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                 Defendants.


                                 DECLARATION OF JOHN DOE

         I, John Doe, declare as follows.

         1.      I am over the age of eighteen years, and the facts set forth herein are true and

  correct to the best of my personal knowledge, information, and belief.
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           2.    I am a male, African-American undergraduate at the University of Virginia

  (“UVA”), and a resident of Charlottesville, Virginia.

           3.    On August 11, 2017, I peacefully protested Defendants’ neo-Nazi and white

  supremacist march in Charlottesville, at the UVA Rotunda and statue of Thomas Jefferson. I

  was with approximately 30 other protesters, and was one of the few African-American men

  present.

           4.    Me and the other protesters locked arms around the Thomas Jefferson statue, as

  hundreds of neo-Nazi and white supremacist marchers reached the Rotunda. They circled us and

  shouted racist and anti-Semitic threats and chants, including making monkey noises at the black

  protesters, and shouting “blood and soil” (a Nazi slogan) and “Jews will not replace us.” The

  marchers also threw torches at our group, and sprayed me with mace or another type of caustic

  substance, which made my eyes burn and made it hard to breathe. I was terrified and feared for

  my life, but was able to escape.

           5.    On August 12, 2017, I again protested Defendants’ neo-Nazi and white

  supremacist march. Again, Defendants and the other marchers chanted anti-Semitic, racist, and

  pro-Nazi slogans that day, including “Heil Hitler,” “Jews will not replace us,” and “blood and

  soil.”

           6.    I suffered numerous emotional injuries as a result of the events on August 11-12,

  2017. I’ve had difficulty focusing in school, and when I walk past the Thomas Jefferson statue

  on campus, I immediately recall the harm, threats, and fear I suffered. I also have trouble

  sleeping, and developed a heightened, anxious sense of awareness in public spaces.

           7.    After the events on August 11-12, I met with a security expert and have taken

  steps to increase my safety and guard against further harm from Defendants and their supporters.



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          8.     I fear that if my identity is disclosed in this action, I will be targeted by

  Defendants and/or their supporters and sympathizers because I am an African-American plaintiff

  and was a counter-protester, and will be subjected to further threats, harassment, violence, and

  other physical and mental harm.

          I declare under penalty of perjury under the laws of the United States of America that the

  above is true and correct. Executed this 13th day of November, 2017 in Charlottesville,

  Virginia.




                                                         /s/ John Doe
                                                         John Doe
  153683745




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